802 F.2d 451Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John N. DAVIS-BEY, Plaintiff-Appellant,v.Harold G. MILLER, U.S.P.  Warden, Defendant-Appellee.
    No. 86-6588.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 26, 1986.Decided Oct. 2, 1986.
    
      John N. Davis-Bey, appellant pro se.
      Stephen H. Sachs, Richard B. Rosenblatt, Office of the Attorney General, for appellee.
      D.Md.
      DISMISSED.
      Before WIDENER, HALL and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Davis-Bey v. Miller, C/A No. 85-109-JFM (D.Md.  April 4, 1986) .
    
    
      2
      DISMISSED.
    
    